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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                X
BLOCKCHAIN MINING SUPPLY AND
SERVICES LTD.,                                       Case No. 18-CV-11099-ALC

                 Plaintiff,

     -against-

SUPER CRYPTO MINING, INC. (N/K/A DIGITAL
FARMS, INC. and DPW HOLDINGS, INC.
(N/K/A AULT AULLIANCE, INC.),

                 Defendants.
                                                X




           CONFIDENTIAL
         FILED UNDER SEAL

                               EXHIBIT 4

      TO THE SUPPLEMENTAL DECLARATION OF
       DARREN MAGOT, DATED AUGUST 12, 2023




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